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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                            Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiffs,   DECLARATION OF REED D. FORBUSH
                                                   IN SUPPORT OF THE PARTIES’ JOINT
  v.                                               LETTER BRIEF

META PLATFORMS, INC.,

                                    Defendant.


                           DECL. OF REED D. FORBUSH IN SUPPORT OF PARTIES’ JOINT LETTER BRIEF
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       I, Reed D. Forbush, declare as follows:

       1.      I am an attorney duly licensed to practice in the State of California. I am counsel

in the San Francisco, California office of Boies Schiller Flexner, LLP (“BSF”), interim lead

counsel for Plaintiﬀs in the above-captioned action. I have personal knowledge of the matters

stated herein and, if called upon, I can competently testify thereto. I make this declaration pursuant

to 28 U.S.C. § 1746 and Local Rule 6-3 in support of the Parties’ Joint Letter Brief.

       2.      Attached as Exhibit A is a true and correct copy of a document produced by Meta

with the Bates number Meta_Kadrey_00048202.

       3.      Attached as Exhibit B is a true and correct copy of a document produced by Meta

with the Bates number Meta_Kadrey_00080096.

       4.      Attached as Exhibit C is a true and correct copy of a document produced by Meta

with the Bates number Meta_Kadrey_00088838.

       5.      Attached as Exhibit D is a true and correct copy of a document produced by Meta

with the Bates number Meta_Kadrey_00093952.

       6.      Attached as Exhibit E is a true and correct copy of the transcript of the deposition

of Ahmad Al-Dahle, which took place on October 3, 2024.

       7.      Attached as Exhibit F is a true and correct copy of a document produced by Meta

with the Bates number Meta_Kadrey_00044964.

       8.      Attached as Exhibit G is a true and correct copy of a document produced by Meta

with the Bates number Meta_Kadrey_00037448.

       9.      Attached as Exhibit H is a true and correct copy of article titled “Meta profits

surge 35% as the AI spending spree continues,” published by Quartz.

       10.     Attached as Exhibit I is a true and correct copy of an email and amended notice of

a 30(b)(6) deposition Plaintiffs’ counsel sent to Defendant’s counsel on October 8, 2024.

       11.     Attached as Exhibit J is a true and correct copy of an email chain between

Plaintiffs’ counsel and Defendant’s counsel from October 15 to October 17, 2024.




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       12.     Attached as Exhibit K is a true and correct copy of an email sent from Plaintiffs’

counsel to Defendant’s counsel on October 18, 2024.

       13.     Attached as Exhibit L is a true and correct copy of an email chain between

Plaintiffs’ counsel and Defendant’s counsel from October 18 to October 28, 2024.

       14.     Attached as Exhibit M is a true and correct copy of Defendant’s Responses and

Objections to Plaintiffs’ Amended Notice of 30(b)(6) Deposition, dated October 28, 2024.

       15.     Attached as Exhibit N is a true and correct copy of an email chain between

Plaintiffs’ counsel and Defendant’s counsel from October 15 to October 30, 2024.

       16.     Attached as Exhibit O is a true and correct copy of an article titled “Meta won’t

release its multimodal Llama AI model in the EU,” published by The Verge.

       17.     Attached as Exhibit P is a true and correct copy of Assembly Bill No. 2013.

       18.     Attached as Exhibit Q is a true and correct copy of an article titled “Meta, OSI

tussle definition of open source AI,” published by Axios.

       19.     Attached as Exhibit R is a true and correct copy of an article titled “EU AI Act:

The Essential Guide to Copyright Compliance for General-Purpose AI Models,” published by

Chambers and Partners.

       20.     Attached as Exhibit T is a true and correct copy of an email chain between

Plaintiffs’ counsel and Defendant’s counsel from October 18 to October 21, 2024.

       21.     Attached as Exhibit U is a true and correct copy of an email chain between

Plaintiffs’ counsel and Defendant’s counsel from September 19 to October 31, 2024.

       22.     Attached as Exhibit V is a true and correct copy of a document produced by Meta

with the Bates number Meta_Kadrey_00093962.

       23.     Attached as Exhibit W is a true and correct copy of the Northern District of

California ESI Discovery Checklist.

       24.     Attached as Exhibit X is a true and correct copy of Volume 19 of the 2018 Sedona

Conference Journal.




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       25.     Attached as Exhibit Y is a true and correct copy of a document produced by Meta

with the Bates number Meta_Kadrey_00065244.

       26.     Attached as Exhibit Z is a true and correct copy of a document produced by Meta

with the Bates number Meta_Kadrey_00046267.

       27.     Attached as Exhibit AA is a true and correct copy of a document produced by

Meta with the Bates number Meta_Kadrey_00063329.

       28.     Attached as Exhibit BB is a true and correct copy of a document produced by

Meta with the Bates number Meta_Kadrey_00047103.

       29.     Attached as Exhibit CC is a true and correct copy of a letter sent from Plaintiffs’

counsel to Defendant’s counsel on October 23, 2024.

       30.     Attached as Exhibit DD is a true and correct copy of a letter sent from Plaintiffs’

counsel to Defendant’s counsel on August 22, 2024.

       31.     Attached as Exhibit EE is a true and correct copy of an email chain between

Plaintiffs’ counsel and Defendant’s counsel from September 19 to October 31, 2024.

       32.     Attached as Exhibit FF is a true and correct copy of an article titled “Copyright

Office Issues Notice of Inquiry on Copyright and Artificial Intelligence,” published by the U.S.

Copyright Office.

       33.     Attached as Exhibit GG is a true and correct copy of Meta’s submission to the

U.S. Copyright Office on October 30, 2023.

       34.     Attached as Exhibit HH is a true and correct copy of an article titled “How Tech

Giants Cut Corners to Harvest Data for A.I.,” published by the New York Times.

       35.     Attached as Exhibit II is a true and correct copy of Meta’s submission to the U.S.

Copyright Office on October 30, 2023.

       36.     Attached as Exhibit JJ is a true and correct copy of an email letter sent from

Plaintiffs’ counsel to Defendant’s counsel on October 23, 2024.




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       37.     Attached as Exhibit KK is a true and correct copy of an article titled “Meta is

bringing the voices of Judi Dench, John Cena and Keegan-Michael Key to its AI chatbot,”

published by the CNN Business.

       38.     Attached as Exhibit LL is a true and correct copy of an article titled “Meta signs

its first big AI deal for news,” published by The Verge.

       39.     Attached as Exhibit NN is a true and correct copy of email correspondence and an

email letter sent from Plaintiffs’ counsel to Defendant’s counsel on October 9, 2024.

       40.     Attached as Exhibit OO is a true and correct copy of email correspondence and an

email letter sent from Plaintiffs’ counsel to Defendant’s counsel on October 9, 2024.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on the

31st day of October 2024 in Emeryville, California.


                                               By:         _______/s/ Reed D. Forbush____
                                                                   Reed D. Forbush




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